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                    6    Attorneys for Chapter 7 Trustee
                         E. LYNN SCHOENMANN
                    7

                    8                                 UNITED STATES BANKRUPTCY COURT
                    9                                 NORTHERN DISTRICT OF CALIFORNIA
                   10                                         SAN FRANCISCO DIVISION
                   11    In re                                                    Case No. 21-30299 DM
                   12    ACEH Capital, LLC,                                       Chapter 7
                   13                                                             CERTIFICATE OF SERVICE
                                            Debtor.
                   14                                                             [NO HEARING REQUIRED]
                   15

                   16          I am a citizen of the United States, over the age of 18 years, and not a party to or interested in

                   17    the within entitled cause. I am an employee of Duane Morris LLP and my business address is

                   18    One Market Plaza, Spear Street Tower, Suite 2200, San Francisco, California 94105-1127. I am

                   19    readily familiar with the business practice for collection and processing of correspondence for

                   20    mailing and for transmitting documents by U.S. Mail, FedEx, fax, email, courier and other

                   21    modes. On December 6, 2021, I served the following document:

                   22              NOTICE OF TRUSTEE’S INTENTION TO SELL REAL PROPERTY OF THE
                                    ESTATE (UNDEVELOPED LAND, APN# 3082-002-007, LOS ANGELES
                   23               COUNTY, CALIFORNIA) PURSUANT TO 11 U.S.C. § 363(b); PROCEDURE
                                    FOR OVERBID AND OBJECTION
                   24

                   25
                         _X_       ELECTRONICALLY: I hereby certify that on the below date, I electronically filed the
                   26              foregoing with the Clerk of the Court using the CM/ECF system which will send
                                   notification of such filing to the e-mail addresses denoted on the Electronic mail notice list.
                   27

                   28
D UANE M ORRIS
   SAN FRANCISCO
                   LLP
                         DM3\8284232                                          1
               Case: 21-30299             Doc# 69-1      Filed: 12/06/21     Entered: 12/06/21 11:05:47        Page 1 of
                                                                     10
                    1 _X_       BY U.S. MAIL: by placing ( the original) ( a true copy) thereof enclosed in a sealed
                                envelope, addressed as set forth below, and placing the envelope for collection and mailing
                    2           following my firm’s ordinary business practices, which are that on the same day
                                correspondence is placed for collection and mailing, it is deposited in the ordinary course
                    3           of business with the United States Postal Service in San Francisco, California, with
                                postage fully prepaid..
                    4

                    5                                      COURT MAILING MATRIX
                                                                 (Attached)
                    6

                    7             I declare under penalty of perjury under the laws of the United States of America that the
                    8    foregoing is true and correct and that this declaration was executed on December 6, 2021, in San
                    9    Francisco, California.
                   10

                   11                                                             /s/ Joan Nazzal (xxx-xx-7574)
                                                                                         JOAN NAZZAL
                   12

                   13

                   14

                   15

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D UANE M ORRIS     LLP   DM3\8284232                                      2
   SAN FRANCISCO


               Case: 21-30299           Doc# 69-1     Filed: 12/06/21    Entered: 12/06/21 11:05:47       Page 2 of
                                                                  10
Label Matrix for local noticing               230 East Street and Avenue B, LLC               ACEH Capital, LLC
0971-3                                        7120 Blue Hill Dr                               PO Box 610108
Case 21-30299                                 San Jose, CA 95129-2813                         Redwood City, CA 94061-0108
California Northern Bankruptcy Court
San Francisco
Mon Dec 6 09:24:23 PST 2021
ACEQ Investment, Inc.                         All-Guard Alarm                                 Amanda Sword
7120 Blue Hill Dr                             1306 Stealth Street                             1000 W. Desert Valley Dr
San Jose, CA 95129-2813                       Livermore, CA 94551-9356                        San Tan Valley, AZ 85143-3455



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               Case: 21-30299          Doc# 69-1   Filed: 12/06/21           Entered: 12/06/21 11:05:47      Page 3 of
                                                               10
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               Case: 21-30299     Doc# 69-1    Filed: 12/06/21           Entered: 12/06/21 11:05:47      Page 4 of
                                                           10
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               Case: 21-30299                     Oakland,
                                          Doc# 69-1        CA 94606-1602
                                                       Filed:   12/06/21          Entered: 12/06/21 11:05:47      Page 5 of
                                                                       10
John Sword                                      Richard M Kelly                                 Kern County Tax Collector
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               Case: 21-30299            Doc# 69-1   Filed: 12/06/21           Entered: 12/06/21 11:05:47      Page 6 of
                                                                 10
U.S. Attorney                                          William Michael Wagner                               Wei-Fah Loo or Mei Li
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                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Bank                                             Los   Angeles County Treasurer                       (d)Los Angeles County Treasurer & Tax Collect
PO Box 94014                                           and   Tax Collector                                  PO Box 54110
Palatine, IL 60094                                     225   N. Hill Street, #1                             Los Angeles CA 90054
                                                       Los   Angeles, CA 90012




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


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(d)Anthony L. Wade                                     (d)Bei Qin                                           (d)Borel Place Associates
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               Case: 21-30299             Doc# 69-1          Filed: 12/06/21            Entered: 12/06/21 11:05:47         Page 7 of
                                                                         10
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               Case: 21-30299        Doc# 69-1   Filed: 12/06/21        Entered: 12/06/21 11:05:47      Page 8 of
                                                             10
(d)IRA Services, Trust Company          (d)IRA Services, Trust Company               (d)IRA Services, Trust Company
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1600 Webster St, Unit 301               9050 E. Whitmore St                          1000 W. Desert Valley Dr
San Francisco, CA 94115-3293            Rosemead, CA 91770-2860                      San Tan Valley, AZ 85143-3455



(d)Kuang-Yu Chen                        (d)Lin Huang Family Trust                    (d)Debra A. Longenbaugh
20489 Chalet Lane                       7522 Tiptoe Lane                             5117 #5 W. Wooley Rd
Saratoga, CA 95070-4928                 Cupertino, CA 95014-5837                     Oxnard, CA 93035-1859



(d)Margaret Evonne Wright               (d)Mary Margaret Loehr                       (d)Monlian W. Chen
155 E. Louis Way                        3321 Dehesa Road, #90                        2119 San Rafael Ave
Tempe, AZ 85284-1475                    El Cajon, CA 92019-2880                      Santa Clara, CA 95051-1609

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                                                         10
(d)Richard Leong Jr                       (d)Salvador Meza, Jr.                     (d)Suni Yang Hsieh
24532 Via Tonada                          5462 Laura Drive                          16917 Royalview Road
Lake Forest, CA 92630-2026                San Jose, CA 95124-6121                   Burlingame, CA 94010



(d)Sunriser Landcore Investments          (d)Whitney Boyle Wright                   End of Label Matrix
Hesam Tooloee                             155 E. Louis Way                          Mailable recipients    126
1179 Oakmont Dr, #1                       Tempe, AZ 85284-1475                      Bypassed recipients     77
Walnut Creek, CA 94595-2429                                                         Total                  203




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